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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau, Case No. 3:17-CV-00101-RDM
Plaintiff, a
v. STIPULATED FINAL

JUDGMENT AND FILED
. ORDER SCRANTON
Navient Corporation, et al.,
aviene ore SEP 12 2024
Defendants. PER Sf)
DEPIYTY CLERK

The Consumer Financial Protection Bureau (“Bureau”) commenced
this civil action on January 18, 2017 to obtain injunctive and monetary
relief and civil penalties, from Navient Solutions, LLC, Pioneer Credit _
Recovery, Inc., and Navient Corporation. The Complaint alleges violations
of sections 1031(a) and 1036(a)(1) of the Consumer Financial Protection Act
of 2010 (“CFPA”), 12 U.S.C. §§ 5531(a), 5536(a)(1); section 1022.42(a) of
Regulation V, the implementing regulation of the Fair Credit Reporting Act
(“FCRA”), 12 C.F.R. § 1022.42(a); and section 807 of the Fair Debt
Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692e, in connection with
Defendants’ student loan servicing and debt collection practices.

The Bureau and Defendants agree to entry of this Stipulated Final
Judgment and Order (“Order”), without adjudication of any issue of fact or
law, to settle and resolve all matters in dispute arising from the conduct

alleged in the Complaint.
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FINDINGS

1.‘ This Court has jurisdiction over the parties and the subject
matter of this action.

2. Defendants neither admit nor deny any allegations in the
Complaint, except as specified in this Order. For purposes of this Order,
Defendants admit the facts necessary to establish the Court’s jurisdiction
over them and the subject matter of this action.

3. Defendants waive all rights to seek judicial review or otherwise
challenge or contest the validity of this Order and any claim they may have
under the Equal Access to Justice Act, 28 U.S.C. § 2412, concerning the
prosecution of this action to the date of this Order. Each Party agrees to
bear its own costs and expenses, including, without limitation, attorneys’
fees.

4. Entry of this Order is in the public interest.

DEFINITIONS

5. The following definitions apply to this Order:

a. “Alternative Repayment Plans” means Income-
Driven Repayment Plans and extended and graduated
repayment plans.

b. “Assisting Others” includes, but is not limited to:

i. consulting in any form whatsoever for
remuneration;
ii. | providing paralegal or administrative support

services;
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iii.

Iv.

Vil.

performing customer service functions, including
but not limited to, receiving or responding to
consumer complaints;

formulating or providing, or arranging for the
formulation or provision of, any advertising or
marketing material, including but not limited to,
any telephone sales script, direct mail solicitation,
or the text of any Internet website, email, or other
electronic communication or advertisement;
formulating or providing, or arranging for the
formulation or provision of, any marketing support
material or service, including but not limited to, web
or Internet Protocol addresses or domain name
registration for any Internet websites, affiliate
marketing services, or media placement services;
providing names of, or assisting in the generation
of, potential customers; and

performing marketing, billing, or payment services

of any kind.

Cc. “Board” means Navient Corporation’s duly-elected and

acting Board of Directors.

d. “Clearly and Conspicuously” or “Clear and

Conspicuous” means:

i.

In textual communications (e.g., printed
publications or words displayed on the screen of an
electronic device), the disclosure must be of a type

size and location sufficiently noticeable for an

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ordinary consumer to read and comprehend it, in
print that contrasts with the background on which it
appears.

ii. In communications disseminated orally or through
audible means, the disclosure must be delivered in a
volume and cadence sufficient for an ordinary
consumer to hear and comprehend it.

iii. In all instances, the disclosure must be in an
understandable language and syntax, and with
nothing contrary to, inconsistent with, or in
mitigation of the disclosures used in any
communication with the consumer.

e. “Consumer Reporting Agency” has the meaning
provided in section 603 of the FCRA, 15 U.S.C. § 1681 et
seq., and any amendments thereto. As of the date of entry
of this Order, “Consumer Reporting Agency” is defined
under the FCRA as any person which, for monetary fees,
dues, or on a cooperative nonprofit basis, regularly
engages in whole or in part in the practice of assembling
or evaluating consumer credit information or other
information on consumers for the purpose of furnishing
consumer reports to third parties, and which uses any
means or facility of interstate commerce for the purpose
of preparing or furnishing consumer reports. .

f. “Defendants” means Navient Solutions, LLC, Pioneer
Credit Recovery, Inc., and Navient Corporation, and their

successors and assigns.

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g. “Deferment” means a temporary postponement of
monthly loan payments pursuant to 34 C.F.R. § 682.210.

h. “Direct Loan” means any student loan made to a
borrower under the William D. Ford Federal Direct Loan
Program, pursuant to 20 U.S.C. Part D.

i. “Discretionary Forbearance” means any forbearance
other than a Mandatory Forbearance. “Discretionary
Forbearances” are also referred to as “general
forbearances” and include any forbearance that the loan
holder or loan servicer is permitted but not required to

grant, pursuant to 34 C.F.R. § 682.211.

j. “Effective Date” means the date on which the Order is
entered by the Court.
k. “Enforcement Director” means the Assistant Director

of the Office of Enforcement for the Consumer Financial
Protection Bureau, or their delegate.

1. “FFELP Loan” means any student loan made to a
borrower under the Federal Family Education Loan
Program, pursuant to 20 U.S.C. Part B.

m. “Forbearance” means an option that permits the
temporary cessation of student loan payments or an
extension of time for making student loan payments,
pursuant to 34 C.F.R. § 682.211. “Forbearance” includes
any Discretionary Forbearance or Mandatory Forbearance
and excludes any Deferment.

n. “Income-Driven Repayment Plan” or “IDR Plan”

has the same meaning as promulgated by the United

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States Department of Education, including the following
plans: Revised Pay As You Earn (REPAYE), Pay As You
Earn (PAYE), Income-Based Repayment (IBR), Income-
Contingent Repayment (ICR), the Saving on a Valuable
Education (SAVE) Plan, and any similar plan that the U.S.
Department of Education later classifies as an income-
driven repayment plan.

o. “Mandatory Forbearance” means any forbearance
that a lender or loan servicer is required to grant under 34
C.F.R. § 682.211(h).

p. “MOHELA” means the Missouri Higher Education Loan
Authority.

q. “MOHELA Transaction” means Navient’s transaction
with MOHELA under which MOHELA became a Sub-
Servicer to Navient Solutions, pursuant to an agreement
between Navient and MOHELA dated May 7, 2024.

r. “Navient” means Navient Corporation and Navient
Solutions, collectively.

Ss. “Navient Affiliate” means Navient Credit Finance
Corporation, any subsidiary of Navient Credit Finance
Corporation, or any securitization trust established by any
subsidiary of Navient Credit Finance Corporation, and
their predecessors, successors, and assigns.

t. “Navient Corporation” means Navient Corporation
and its successors and assigns.

u. “Navient Solutions” means Navient Solutions, LLC,

and its successors and assigns.

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v. “Ordinary Course FFELP Loan Repurchases”
means (a) repurchases of FFELP Loans that are required
or permitted under the terms of any agreement in
connection with any securitization or any warehouse
facility sponsored by Navient or any Navient Affiliate or
other securitization owned by Navient; (b) repurchases of
FFELP Loans that are required under the terms of any
agreement in connection with any sale by Navient or any
Navient Affiliate of any FFELP Loans to third-parties, in
which such repurchases are required in the event that
representations and warranties Navient made about such
loans were not true and correct at the time of the sale; and
(c) repurchases of FFELP Loans from FFELP guarantors
required by the terms of the Higher Education Act or the
terms of any guarantee agreement. “Ordinary Course
FFELP Loan Repurchases” do not include: (a) purchases
of FFELP Loans that were never owned by any Defendant
or any Navient Affiliate as of the Effective Date; and (b)
repurchases of rehabilitated FFELP Loans.

w. “Pioneer” means Pioneer Credit Recovery, Inc., and its
successors and assigns.

x.  “PSLF” means the Public Service Loan Forgiveness
Program, a U.S. Department of Education program
intended to encourage individuals to enter and continue
in full-time public service employment by forgiving the

remaining balance of their qualifying federal student
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loans after they satisfy certain public service and loan
payment requirements.

y. “Related Consumer Action” means a private action by
or on behalf of one or more consumers or an enforcement
action by another governmental agency brought against a
Defendant based on substantially the same facts as
described in the Complaint.

Z. “Required FFELP Loan Purchases” means
purchases of FFELP Loans that are required under the
terms of any agreement by Navient or any of its affiliates
in connection with any third-party servicing or
subservicing agreement, in which such purchases are
required in the event of a material servicing error.

aa. “Sub-servicer” means any company to whom
responsibility for servicing is sold, transferred, assigned,
or subcontracted by any Defendant with respect to any
federal loan made, guaranteed, or insured under Title IV
of the Higher Education Act, 20 U.S.C. § 1078 et seq., or
any private education loan as defined by the Truth in
Lending Act, 15 U.S.C. § 1650(a)(8).

bb. “Supervision Director” means the Assistant Director
of the Office of Supervision Policy for the Consumer
Financial Protection Bureau, or their delegate.

ce. “TEPSLF” means the Temporary Expanded Public
Service Loan Forgiveness Program, a U.S. Department of
Education program that provides loan forgiveness for

qualifying federal student loan borrowers who made some

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dd.

or all of their requisite monthly PSLF payments under a
repayment plan that does not qualify for PSLF.

“TLF” means the Teacher Loan Forgiveness Program, a
U.S. Department of Education program intended to
encourage individuals to enter and continue in the
teaching profession by forgiving a specified amount of
their qualifying federal student loans after they satisfy
certain teaching requirements and meet any other

qualifications.

I.
CONDUCT PROVISIONS

Permanent Ban on Servicing of Direct Loans

IT IS ORDERED that:

6. Navient, whether acting directly or indirectly, is permanently

restrained from:

a.

Engaging in, or participating in, or Assisting Others in the
servicing of any Direct Loan;

Entering into or performing operations under any
contract with the Department of Education for the
purposes of implementing any program related to student
aid arising under Title IV of the Higher Education Act of
1965, as amended, including but not limited to serving as
a vendor for the Office of Federal Student Aid’s Business
Processing Operations; and

Holding any ownership interest in any person engaged in

or Assisting Others in the servicing of Direct Loans.
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Nothing in this Paragraph shall prohibit any Sub-servicer from servicing
Direct Loans. Nothing in this Consent Order shall be read as an exception

to this Paragraph.

Permanent Ban on Acquiring Additional and Servicing of FFELP
Loans

IT IS FURTHER ORDERED that:
7.  Navient, whether acting directly or indirectly, is permanently
restrained from:
a. Acquiring any ownership interest, directly or indirectly, in
any FFELP Loan on or after the Effective Date;
b. Engaging in, participating in, or Assisting Others in the
servicing of any FFELP Loan; and
c. | Holding any ownership interest in any person engaged in
or Assisting Others in the servicing of FFELP Loans.
Nothing in this Paragraph shall: (a) limit Navient’s ability to be the master
servicer for its portfolio of FFELP Loans consistent with the terms of its
securitization or warehouse facilities, third-party servicing or subservicing
agreements, or the MOHELA Transaction; (b) limit Ordinary Course
FFELP Loan Repurchases or Required FFELP Loan Purchases; or (c)
prohibit any Sub-servicer from servicing FFELP Loans. Nothing in this

Consent Order shall be read as an exception to this Paragraph.

Servicing Terms

IT IS FURTHER ORDERED that:
8. The conduct provisions contained in Paragraphs 10-64 of this
Order apply to the servicing of all federal loans made, guaranteed, or

insured under Title IV of the Higher Education Act, 20 U.S.C. 8 1078 et

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seq., and all private education loans as defined by the Truth in Lending Act,
15 U.S.C. § 1650(a)(8), performed by Navient or any Sub-servicer for
Navient who receives actual notice of this Order, unless otherwise specified.
Servicing of loans for which Navient is the master servicer may not be
performed entirely by a third-party company that is not a Sub-servicer.

9.  Navient and its officers, agents, servants, employees, and
attorneys, and all other persons in active concert or participation with it
who receive actual notice of this Order, including any Sub-servicer for
Navient who receives actual notice of this Order, whether acting directly or
indirectly, may not violate sections 1031 or 1036(a) of the CFPA, 12 U.S.C.
§§ 5531, 5536(a); section 1022.42(a) of Regulation V, 12 C.F.R. § 1022.42;
and section 807 of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692e.

Payment Processing

IT IS FURTHER ORDERED that:
Navient shall implement or continue its practice(s), as applicable to:

10. Crediting of Payments. Promptly and accurately credit ©
payments to the borrower’s account not later than the date a mailed
payment is received by Navient or by its contractor. This Paragraph 10 shall
not be construed to apply to U.S. Department of Education loans for which
Navient does not receive borrower payments.

a. Changes in Navient’s Payment Requirements or
Policies. If Navient makes any material change to
requirements or policies relating to the receiving,
processing, or handling of loan payments that affect
borrower or cosigner action or any change in the lockbox

address, provide written notice of the change to the

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affected borrowers and/or cosigners, as applicable, no less
than 30 days before the effective date of the change.
Grace Period for Payment Non-Compliance. For at
least 60 days after the effective date of such change, not
impose any late fee, interest accrual other than normal
interest, or other charge; furnish negative credit
information; cause the loss of any benefit to the borrower
or cosigner; or treat any payment that complies with the

previous policy as late for any other purpose.

11. Default Payment Processing Methodology for Loans

Grouped for Billing Purposes.

a.

Unless otherwise instructed by the borrower, for any
payment or payments in excess of the total amount due
across all loans in the billing group (“prepayment”),
prioritize allocations to loans by the highest interest rate
in descending order, provided, however, if multiple loans
are at the same highest rate, first to unsubsidized highest
rate federal loans and then to subsidized federal loans
with that same highest rate.

Unless otherwise instructed by the borrower, for any
payment that does not satisfy the total monthly amount
due across all loans in the billing group (an
“underpayment”), allocate first to the most delinquent
loan, then once all loans are brought to the same level of
delinquency, to the loan with the lowest regular monthly
payment, then according to the payment allocation
methodology in Paragraph 11(a), above.

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c. Clearly and Conspicuously provide its default application
and allocation of prepayments and underpayments
methodologies on Navient’s website(s) and in its billing
statements. These notices shall be accompanied by a
statement informing the borrower and cosigner that they
may instruct the servicer of their loan to use a different
payment allocation methodology, and a description of the
method(s) by which the borrower or cosigner can make
such an instruction.

12. One-Time and Standing Instructions from Borrowers
or Cosigners Regarding Processing Payments. Allow borrowers and
cosigners to provide one-time or standing instructions regarding payment
allocation on any loan or billing group.

13. Requirements Related to Payments by Third Parties.
Permit borrowers and cosigners to request that a third-party payment
made on behalf of, or for the benefit of, that borrower or cosigner be
reallocated based on the borrower or cosigner’s requested allocation within
60 days of the payment date to the extent permitted by the third-party
payor and terms of the applicable promissory note or federal requirements.

14. Requirements Related to Advancement of Due Date.
When a borrower or cosigner submits a payment via Navient’s online
platform that is sufficient to trigger advancement of the current due date
and at least one subsequent due date, permit borrowers the choice of either
(i) opting out of advancement of the due date, or (ii) electing advancement
of the due date.

15. Conformity to the Terms of Loans owned by the U.S.

Department of Education. In the event that Navient is not servicing

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federal loans owned by the U.S. Department of Education and the
Department issues rules, regulations, change orders, or Dear Colleague
letters addressing payment processing, application, or methodologies, at
the option of Navient, Navient may apply such payment processing,
application, or methodologies to FFELP Loans serviced by Navient, and
servicing of FFELP Loans in conformity with such rules, regulations,
change order, or Dear Colleague Letter shall be deemed in compliance with
the provisions of Paragraphs 10-16 of this Order.

16. Terms of Promissory Note. Notwithstanding any specific
requirement set forth above, no provision of this Order shall require
Navient to apply allocation instructions that conflict with the terms of a

borrower’s promissory note or federal requirements.

Fees

IT IS FURTHER ORDERED that:

17. Navient shall implement or continue its practice, as applicable,
to not charge the following fees: fees to enter a Forbearance status; late fees
assessed on a per-loan basis at a fixed-dollar amount; multiple fees for a
single late payment; or fees to process payments, unless required by
applicable law, rule, or regulation or under contract with the owner of the
loan where the owner of the loan is authorized to assess such a fee or to the

extent that a third-party payment service charges such a fee to process

payment.

Billing Statements & Payment Histories

IT IS FURTHER ORDERED that:
For a period of five (5) years from the Effective Date, Navient shall

implement or continue its practice, as applicable to:

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18.

Mandatory Billing Statement Notices. Include on every

billing statement that Navient sends to a borrower or cosigner, at a

minimum, the following information. This information shall also appear on

the borrower’s online account.

19.

a. On the account level:

l.

ii.

iii.

iv.

Total amount due (including fees, if applicable),
including a breakdown of this amount between the
total amount past due and the total current
scheduled monthly payment;

Total outstanding balance on the account, including
a breakdown of this amount among fees, interest,
and principal;

Fees assessed during the current billing cycle;

The date by which payment of the regular monthly
payment amount must be received to avoid
incurring additional late fees in the next billing
cycle; and

For federal loan accounts, the name of the
borrower’s current repayment plan. If, however, the
account is or was previously in an Income-Driven
Repayment Plan but payments are no longer being
calculated based on income, the borrower’s account
portal on Navient’s website(s) will explain this fact
and how to find information related to recertifying
income and family size or reapplying for income-

driven repayment, as applicable.

Payment Histories.

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a. Provide a written payment history to a borrower or

cosigner upon request or provide the borrower with

instructions as to how to access such history on Navient’s

website(s), at no cost to the borrower or cosigner, within

30 days of receiving the request to the extent practicable.

The written payment history may be provided to the

borrower or cosigner in either electronic or paper format.

The payment history shall contain:

i.

il.

iv.

Vil.

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The current interest rate for the loan(s) at issue;
The original loan amount for the loan(s) at issue;
The outstanding principal loan balance for the
loan(s) at issue as of the date of the request;

The total amount of accrued interest since
disbursement;

The date Navient posted each payment;

The amount of each payment applied to fees,
interest, and principal;

The date any interest was capitalized for the loan(s)
at issue, the amount of interest capitalized, and the
reason for the capitalization event; and

The current repayment plan for each such loan.

20. Where possible, the full payment history for all loans shall be

available online. Where the full payment history of one or more loans

cannot be made available online, Navient shall ensure that no less than one

(1) year of payment history for such loans is available online.

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Borrower Communications for Federal Loans

IT IS FURTHER ORDERED that:

21. The provisions of Paragraphs 21-35 apply only to federal loans
made, guaranteed, or insured under Title IV of the Higher Education Act,
20 U.S.C. § 1078 et seq. For a period of five (5) years from the Effective
Date, Navient shall implement or continue its practice, as applicable to:

22. Policies Regarding Oral Communications &
Prioritization of Alternative Repayment Plans. Maintain policies
and procedures designed to ensure that, before any borrower is placed into
a Deferment or Discretionary Forbearance, Navient shall inform such
borrower regarding:

a. The existence and availability of Alternative Repayment
Plans. If the borrower has a loan type that is eligible for an
Income-Driven Repayment Plan (including through
consolidation), this includes: (i) explaining (1) that IDR
Plan payments may be as low as $0 per month depending
on the borrower’s income and family size, (2) that most
IDR Plans provide potential interest subsidies, and (3)
that IDR Plans provide the possibility of loan forgiveness
after meeting certain qualifying payments requirements;
and (ii) offering to estimate an income-driven payment
amount based on the borrower’s stated income and family
Size;

b. If applicable, the method for applying for Alternative
Repayment Plans, either by: (i) directing borrowers to
Navient’s website(s) for accessing application materials

for Alternative Repayment Plans (including, for borrowers

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who must consolidate to access Income-Driven
Repayment Plans, a consolidation application); or (ii) by
providing the borrower with the toll-free telephone
number to call and request a paper copy of the
applications; and

The provisions of Paragraphs 22(a) and (b) of this Order
shall not apply to Deferments or Forbearances where
enrollment is automatic based upon where the borrower
lives or is serving in the military, such as disaster or
military Forbearances, in the case of Deferment due to in-
school enrollment, or administrative Forbearance due to
bankruptcy or disability. The foregoing exception shall
apply even where the borrower may have the ability to opt

out of such Forbearance or Deferment.

23. Alternative Repayment Specialists. Except as provided

herein, designate personnel who have received enhanced training

consistent with Enhanced Training for Alternative Repayment Specialists

outlined in Paragraph 23(b) of this Order. These specially designated

personnel are hereinafter referred to as “Alternative Repayment

Specialists.”

a.

Role of Alternative Repayment Specialists.
Alternative Repayment Specialists assist borrowers as set
forth below regarding Alternative Repayment Plans.
Enhanced Training for Alternative Repayment
Specialists. Train agents to provide accurate and timely

information regarding Alternative Repayment Plans. The

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enhanced training for Alternative Repayment Specialists

shall include training on:

i. Alternative Repayment Plans, as well as other
options such as Forbearance and Deferment;

ii. Eligibility for, and features, primary benefits, and
primary costs associated with, different Alternative
Repayment Plans, as well as Forbearance and
Deferment; and

iii. Actions that the borrower must take to be evaluated
for these options, including actions the borrower
must take to submit an IDR Plan application or to
qualify for Alternative Repayment Plans.

Navient shall implement and administer testing at
least annually to determine the satisfactory
completion of the enhanced training with regard to
each Alternative Repayment Specialist.

c. Access to Alternative Repayment Specialists. The
following types of borrowers shall be routed to Alternative
Repayment Specialists:

i. Any borrower who is at least 60 days delinquent; or

ii. Any borrower who is presently enrolled in a
Discretionary Forbearance and has been enrolled in
Discretionary Forbearance for more than six (6)
months of the previous twelve (12) months.

d. Monitoring of Alternative Repayment Specialists.
Monitor Alternative Repayment Specialists, including

periodic call listening and reviews to monitor the

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Alternative Repayment Specialists’ compliance with these
terms.

e. Compensation & Incentives for Agents. Not utilize
any compensation plan, including any incentive
compensation plan, or any penalty, that is intended to
minimize the time agents engage in oral communications
with borrowers in a manner inconsistent with Paragraphs
22 or 23 of this Order, or where such a plan or penalty is
reasonably foreseeable to have that effect.

f. Role of Navient Agents Who Are Not Designated
Alternative Repayment Specialists. Navient will
continue to require all of its call agents, including those
who are not designated Alternative Repayment
Specialists, to advise all borrowers of the availability of
Alternative Repayment Plans whenever the borrower, or
their payment history, indicates that the borrower is
experiencing financial hardship and that the nature of the
hardship may not be temporary.

24. Limitations. The requirements that are enumerated in
Paragraph 22 of this Order shall not prevent any Alternative Repayment
Specialist from: (a) providing any information specifically requested by the
borrower or responding to any question presented by the borrower,
regardless of timing; and (b) respecting a borrower’s request to end the call
or to not discuss Alternative Repayment Plans. Nor shall the requirements
of Paragraph 22 of this Order prevent the Alternative Repayment Specialist
from assisting a borrower with any other Request for Assistance, as that

term is defined in Paragraph 62 of this Order; nor apply to any oral

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communication between an Alternative Repayment Specialist and a
borrower in which the sole topic discussed is a recertification of the
borrower’s income and family size pursuant to any type of application for
an Alternative Repayment Plan.

25. Policies Regarding Inquiry into Public Service. Maintain
policies and procedures designed to ensure that, if a borrower calls Navient
after the Effective Date, a live customer service agent shall inquire at that
time, and at least once a year thereafter: (a) whether the borrower is
employed in public service, such as by a government or nonprofit employer;
and (b) whether the borrower is interested in learning more about PSLF or
TEPSLF. Navient may develop an interactive tool to solicit answers to these
questions from borrowers and an individual borrower’s provision of
answers through this tool in a given year shall be deemed to be in
compliance with this subsection for that year.

a. If the borrower answers affirmatively, Navient shall:

i. Place a code on the borrower’s account in
accordance with Paragraph 26(c) below; and

ii. | Offer to forward the borrower to, or schedule a call
back from, a Public Service Specialist.

b. Ifa borrower goes a year thereafter without calling
Navient, Navient shall develop and place a Clear and
Conspicuous notice on the borrower’s online account page
informing the borrower that, if they are employed in
public service, such as by a government or nonprofit
employer, they can contact a Public Service Specialist to
learn more about PSLF or TEPSLF. Such notice shall also

link to a U.S. Department of Education website where

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borrowers can obtain more information on PSLF and
TEPSLE.

26. Public Service Specialists. Designate personnel who have

received enhanced training, consistent with Enhanced Training for Public

Service Specialists described in Paragraph 26(b) of this Order. These

special designated personnel are hereinafter referred to as “Public Service

Specialists.”

a.

Role of Public Service Specialists. Public Service

Specialists shall be available to assist borrowers as set
forth below regarding PSLF, TEPSLF, and TLF, and
respond to complaints concerning these programs as
described in Paragraph 30 of this Order.

Enhanced Training for Public Service Specialists.

Regularly train Public Service Specialists to provide

borrowers with accurate, complete, and timely

information regarding PSLF, TEPSLF, and TLF. The
enhanced training for Public Service Specialists shall
include training on:

i. PSLF, TEPSLF, and TLF, including eligible loan
types, steps borrowers can take to obtain an eligible
loan type and associated consequences, qualifying
employment requirements, qualifying repayment
plan requirements and the features of those plans,
qualifying payment requirements, features of PSLF,
TEPSLF, and TLF, forms associated with the
programs, the sequence in which forms must be

submitted or in which actions must be taken,

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il.

ii.

IV.

actions that borrowers must take to succeed in
pursuing forgiveness, and actions that will hinder
borrowers’ eligibility or progress toward
forgiveness, common problems that borrowers |
encounter with the programs, and borrowers’
options for contesting denials and, if relevant to the
inquiry, payment count errors;

TLF’s relationship to PSLF and TEPSLF;

U.S. Department of Education policy changes that
relate to PSLF, TEPSLF, and TLF;

When and where to make appropriate referrals
relating to PSLF, TEPSLF, and TLF including to any
servicer designated by the U.S. Department of
Education to administer PSLF, TEPSLF, or TLF;
Informational resources and tools available from
the U.S. Department of Education or other servicers
designated by the U.S. Department of Education as
a servicer for PSLF, TEPSLF, and TLF; and

Actions that the borrower must take to be evaluated
for and become eligible for an IDR Plan, PSLF,
TEPSLF, and TLF including actions the borrower
must take to submit an IDR Plan, PSLF, TEPSLF, or

TLF related application or certification.

Navient shall implement and administer testing at least

annually to determine the satisfactory completion of the

enhanced training with regard to each Public Service

Specialist.

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c. Access to Public Service Specialists and Public
Service Code. The following types of borrowers shall be
assigned a public service code and, to the extent a
borrower is not already speaking to a Public Service
Specialist, shall be offered to be routed to, or offered a call
back from, a Public Service Specialist:

1. Any borrower with one or more Federal loans
serviced and identifiable by Navient who mistakenly
submits a PSLF or TEPSLF certification or
application to Navient;

ii. | Any borrower who expresses interest in, indicates
an intent to try to qualify for, or requests
information about PSLF, TEPSLF, or TLF;

iii. Any borrower who, on a call with Navient’s agent,
uses keywords or phrases indicating eligibility,
intent, or desire to qualify for or receive more
information about PSLF, TEPSLF, or TLF;

iv. Any borrower who, on a call with Navient’s agent,
expresses an interest in speaking with a Public
Service Specialist; and

v. Any borrower with a complaint, question, or inquiry
about PSLF, TEPSLF, or TLF.

d. Monitoring Relating to Public Service. Conduct
regular call monitoring and review to evaluate whether
questions were prompted and asked; whether calls were
transferred to, or scheduled with, Public Service

Specialists in compliance with these terms; whether

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Public Service Specialists complied with these terms;
whether Public Service Specialists provided borrowers
with complete and accurate information and advice; and
whether the public service code was appropriately entered
and maintained in Navient’s system of record. Monitoring
of Public Service Specialists shall also include a review of
the time borrowers spend on “hold” or in a queue
awaiting contact with a Public Service Specialist. Wait
times for Public Service Specialists shall be held to the
same requirements or standards that Navient applies to
other specialized customer service agents such as military
specialists.

e. Compensation & Incentives for Agents. Not utilize
any compensation plan, including any incentive
compensation plan, or any penalty, that is intended to
minimize the time agents engage in oral communications
with borrowers in a manner inconsistent with Paragraph
22 or 23 of this Order, or where such a plan or penalty is
reasonably foreseeable to have that effect.

27. Outreach to Borrowers Related to PSLF & TEPSLF.
Navient shall develop a notice and distribute it at least annually to all
borrowers who have loan types that do not qualify for PSLF (to the extent
that such borrowers can consolidate these loans into a Direct Loan that
does qualify or are otherwise not permanently ineligible), are currently
enrolled in repayment plans that do not qualify for PSLF, or received a
public service code in Navient’s system of record pursuant to Paragraph

26(c) of this Order. The notice shall Clearly and Conspicuously identify

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each of the borrower’s federal loans in a single notice and indicate whether
each loan is a qualifying loan type and whether each is in a qualifying
repayment plan. If one or more of the borrower’s loans are not a qualifying
loan type, the notice shall identify how the borrower can obtain a qualifying
loan type for the one or more loans that are not a qualifying loan type. If
one or more of the borrower’s loans are not in qualifying repayment plans,
the notice shall: identify qualifying repayment plans and the steps the
borrower can take to change to a qualifying repayment plan, and indicate
that TEPSLF may cover payments made on the wrong repayment plan. The
notice shall Clearly and Conspicuously indicate that PSLF has other
requirements in addition to having a qualifying loan type and repayment
plan. The notice shall Clearly and Conspicuously:
a. Include a web address for a U.S. Department of Education
website where borrowers can obtain more information on
PSLF and TEPSLF and a link to where they can obtain the
PSLF and TEPSLF certification and application;
b. Provide contact information for Public Service Specialists;
and
c. Provide contact information for the Federal Student Aid
Ombudsman Group.
28. Changing to Non-Qualifying PSLF Repayment Plans. If
a borrower has one or more Direct Loans and a public service code and
indicates that they may want to change repayment plans for such Direct
Loan(s), Navient shall offer to transfer the borrower to a Public Service
Specialist. Before a borrower changes to a repayment plan that does not
qualify towards PSLF via telephone, Navient will inform the borrower that

the chosen plan does not qualify towards PSLF. If a borrower changes or is

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changed to a repayment plan that does not qualify towards PSLF via means
other than telephone, within 30 days of the repayment plan change,
Navient will notify the borrower in writing that the chosen plan does not
qualify towards PSLF. This notice shall Clearly and Conspicuously include a
web address for a U.S. Department of Education website where borrowers
can obtain more information on PSLF and TEPSLF and provide contact
information for Public Service Specialists.

29. Consolidating PSLF Eligible Loans. Defendants will not
assist or advise that a borrower consolidate PSLF eligible loans without
accurately informing the borrower about whether qualifying payments the
borrower already made toward forgiveness of those loans will or will not be
lost as a result of consolidation of PSLF-eligible loans. If Defendants send a
borrower a consolidation application, they will include with that application
a notice that accurately and Clearly and Conspicuously informs the
borrower about any consequences that consolidation of PSLF-eligible loans
may have on qualifying payments toward forgiveness on those loans.

30. PSLF Specific Disputes. In response to complaints received
by Navient from formerly or currently serviced borrowers concerning
PSLF/TEPSLF, Navient shall assign one or more Office of Customer
Advocate (“OCA”) specialists who have received enhanced training
consistent with Paragraph 26(b) of this Order (“OCA-Public Service
Specialists”) to review whether the borrower’s payments did not qualify for
PSLF/TEPSLF and whether Navient made a contributing servicing error,
misrepresentation, or omission. To make this determination, the OCA-
Public Service Specialists shall review the account history for all loans,
including without limitation, if any, payment records, Electronic Fund

Transfers, written and electronic correspondence, prior complaints or

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escalated inquiries, phone calls and recordings, and notes related to phone

calls, prior audits in which the borrower’s account was identified as subject

to a problem, records from prior servicers that are in Navient’s possession,

and any other information/documentation Navient typically reviews. The

OCA-Public Service Specialist shall document their findings and

communicate those findings and the reasons for those findings to the

borrower in writing.

a.

If Navient is unable to provide evidence disputing a
borrower’s complaint that Navient made a contributing
error, misrepresentation, or omission, Navient will not
dispute that Navient made such error, misrepresentation,
or omission.

If Navient finds evidence that supports a borrower's
complaint that Navient made a contributing error,
misrepresentation, or omission, Navient will acknowledge
to the borrower that Navient made such error,
misrepresentation, or omission.

If the immediately foregoing Paragraphs 30(a) or 30(b) of
this Order apply, Navient will communicate its findings
and the reasons for those findings to the borrower’s
current servicer, copying the U.S. Department of
Education, and encourage the servicer and the U.S.
Department of Education to provide forgiveness or a
correction to the borrower’s qualifying payment count if
the reason payments were non-qualifying may have

related to an error, misrepresentation, or omission.

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d. Ifthe borrower’s complaint relates to having the right
loan type but making payments under the wrong
repayment plan, then the findings that Navient provides
to the borrower shall include information about the
potential relief available under TEPSLF.

31. Oral Communications Regarding Amounts Owed.
Implement or maintain policies and procedures to disclose to borrowers
and cosigners, concurrent with any payment demand, the payment amount
required to cure a borrower’s delinquency or avoid negative credit
reporting, and to permit borrowers to pay that amount without requiring
borrowers to make any monthly payment prior to its scheduled due date.

32. Cover Emails Accompanying Electronic Billing
Statements. Cover emails from Navient notifying a borrower with a
delinquent federal education loan that an electronic billing statement is
available on Navient’s website(s) shall disclose the steps the borrower can
take to learn about Alternative Repayment Plans.

33. Website Notices of Alternative Repayment Plans.
Maintain on Navient’s website(s) a description of Alternative Repayment
Plans and a link to the U.S. Department of Education website where
borrowers can obtain more information and apply.

34. Requirements Related to Recertification of Income
and Family Size Under an IDR Plan. For any borrower enrolled in an
IDR Plan: At a reasonable time period prior to the then current IDR Plan
recertification deadline (“annual deadline”), send written or electronic
notices to the borrower regarding the requirement and the deadline to
recertify the borrower’s income and family size. Between 90 days and 20

days prior to the borrower’s annual deadline, Navient shall make no fewer

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than four attempts to contact borrowers who are enrolled in an IDR Plan
but have not submitted an application to recertify income and family size,
and shall make at least one additional attempt if the borrower has not
submitted an application after the annual deadline date has passed.

35. Cover Emails Accompanying IDR Plan Recertification
Communications. Include in the subject field of any electronic
communication relating to an upcoming IDR Plan recertification the
following statement, or a substantially similar statement: “Take Action Now

or Your Monthly Payment May Increase.”

Consolidation

IT IS FURTHER ORDERED that:

36. The provisions of Paragraphs 37-38 of this Order apply only to
federal loans made and guaranteed or insured under Title IV of the Higher
Education Act, 20 U.S.C. § 1078 et seg. After completion of the MOHELA
Transaction, Navient shall require that MOHELA complies with the
requirements of Paragraphs 37-38.

37. Responding to Borrower Inquiries Regarding
Consolidation. Navient shall respond to borrower inquiries regarding
consolidation of FFELP Loans into a Direct Consolidation Loan with
accurate and complete information.

38. Timely Providing the Loan Verification Certification.
For each borrower for whom Navient receives a Loan Verification
Certificate, Navient shall complete and return to the Department of
Education the accurate Loan Verification Certification of the amount owed

within ten (10) business days of receipt, regardless of whether the paper or

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electronic return method has been chosen, consistent with 34 C.F.R. §
685.220(f)(1)Q).

Borrower Communications for Private Education Loans

IT IS FURTHER ORDERED that:

39. The provisions of Paragraphs 40-43 of this Order apply to
servicing and collections of all private education loans (15 U.S.C. § 1650).

40. Private Student Loan Alternative Repayment
Arrangements. Navient shall not misrepresent the availability of, or
requirements or qualifications for, private student loan alternative
repayment arrangements.

41. Properly Evaluating Private Student Loan Alternative
Repayment Arrangement Requests From A Borrower. Navient
shall establish policies and procedures and implement them consistently in
order to facilitate the evaluation of private student loan alternative
repayment arrangement requests.

42. Oral Communications Regarding Amounts Owed.
Navient shall implement or maintain policies and procedures to disclose to
borrowers and cosigners, concurrent with any payment demand, the
payment amount required to cure a borrower’s delinquency or avoid
negative credit reporting, and to permit borrowers to pay that amount
without requiring borrowers to make any monthly payment prior to its
scheduled due date.

43. Oral and Written Communications Regarding
Bankruptcy. Navient shall not inform borrowers that private loans are
non-dischargeable in bankruptcy or unlikely to be dischargeable in

bankruptcy. Navient shall establish policies and procedures to ensure that

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they direct borrowers who raise the issue of bankruptcy to discuss the

potential for loan discharge with bankruptcy counsel.

Cosigned Loans

IT IS FURTHER ORDERED that:
Navient shall implement or continue its practice, as applicable to:

44. Notice of Cosigner Release. For all loan accounts that may
be eligible for the potential release of a cosigner based upon the terms and
conditions of their loans, provide a one-time notice (“Notice of Cosigner
Release”) describing: the criteria then in effect for qualifying for cosigner
release; an explanation as to what constitutes a consecutive, on-time
payment; a web address where the cosigner release application can be
accessed and if the notice is electronic, a link thereto; statements that (i)
Navient will evaluate the borrower’s credit history and ability to repay
before granting cosigner release and describe the process for applying for
cosigner release; (ii) borrowers should check their payment history to
determine whether they have met the consecutive on-time payment
requirement; (iii) overpayments of more than the monthly payment
amount may not count toward cosigner release; (iv) payments made by a
borrower’s employer may not count towards cosigner release; and (v) a
phone number borrowers can call if they have questions about cosigner
release.

45. Website Publication of Information Related to
Cosigner Release. Post the information contained in the Notice of
Cosigner Release, described in Paragraph 44 of this Order, on Navient’s

website(s).

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46. Qualifying Payments for Consecutive, On-Time
Payments Requirement. In calculating consecutive, on-time payments
for purposes of qualifying for cosigner release, include each consecutive,
scheduled principal and interest payment immediately preceding the
cosigner release application submission.

a. Except as defined by the terms of the loan or its
promissory note, the following payments qualify for
cosigner release: Any on-time payments made within the
billing cycle, including payments within the grace period,
which would constitute a full principal and interest
payment for that billing cycle and shall not include any
payments made pursuant to an interest rate reduction
program or other program permitting partial or no
payment.

b. Not restart a borrower’s progress toward meeting the
consecutive, on-time payment requirement for cosigner
release if, due to a prepayment which resulted in the
advancement of a due date, the borrower makes no
payment in response to a $0 bill.

47. Notice Concerning Impact on Certain Payment
Arrangements. If a borrower or cosigner requests a change in terms that
would restart the borrower’s progress towards meeting the consecutive, on-
time payment requirement for cosigner release, notify the borrower in
writing of the impact of such an arrangement and provide such borrower
the right to withdraw or reverse the request to avoid such impact. If the
request for the change in terms is made over the phone or online, Navient

shall inform the borrower or cosigner of the impact of such an arrangement

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and provide the borrower or cosigner the right to withdraw or reverse the
request to avoid such impact.
48. Notice of Incomplete Application for Cosigner Release.
If Navient requires a written application to apply for cosigner release and
receives an incomplete application, send the borrower a written notice that
includes the following information, within 30 days of receipt of such
incomplete application:
a. | Astatement that the application is incomplete;
b. The information needed by Navient to consider the
application complete; and
c. The date by which the applicant must furnish the missing
information after which date the application may be
denied, which must be no less than 30 days from which
the notification is postmarked or emailed.
49. Cosigner Release Denial. In the event that Navient denies
cosigner release, Navient will provide the borrower a denial letter that

Clearly and Conspicuously provides the reasons for such denial.

Payoff

IT IS FURTHER ORDERED that:
Navient shall implement or continue its practice, as applicable to:

50. Online Information Regarding Payoff Process. Maintain
a Clear and Conspicuous description on Navient’s website(s) of the
methods by which a borrower or cosigner may obtain a valid Payoff
Statement for a single loan or group of loans.

51. Controls for Accurate Payoff Statements. Maintain

policies and procedures to ensure that each payoff amount communicated

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to the payoff requestor, whether orally or in a payoff statement, is accurate
for the corresponding expiration date stated therein.

52. Paid in Full Notice. When Navient receives a payment in
good funds equal to or exceeding the amount indicated in the payoff
statement for a particular loan or loans, provide within 75 days of such
receipt, at no cost to the borrower or cosigner, a written or electronic notice
to borrowers and any cosigners confirming that no outstanding balance
remains on such loan(s).

53. Notice of Attempt to Pay Off. If Navient receives a payment
greater than or equal to 95 percent of the outstanding balance of a
borrower’s loan(s) in a group but less than the amount required to pay the
loan in full, provide a monthly billing statement to the borrower setting
forth, among other items, the remaining unpaid principal balance as of the
statement date.

54. Refund of Overpayments Following Payoff. Remain in
compliance with U.S. Department of Education regulations for refunding
overpayments following payoff. Navient shall disclose its policy for refund

of overpayments following payoff on Navient’s website(s).

Requirements Related to the Transfer of Servicing
IT IS FURTHER ORDERED that:
Navient shall implement or continue its practice, as applicable to:

55. Notice by Transferor Servicer at the Time of Transfer
of Servicing. When acting as the Transferor Servicer, as defined in
Regulation X, 12 C.F.R. § 1024.31, provide to each borrower and cosigner
subject to the transfer a written notice (“Notice by Transferor Servicer”) not

less than 15 days before the effective date of the transfer.

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56. Notice by Transferee Servicer. When acting as the
Transferee Servicer, as defined in Regulation X, 12 C.F.R. § 1024.31,
provide to each borrower and cosigner subject to the transfer a written
notice (“Notice by Transferee Servicer”) not more than 15 days after the
effective date of the transfer.

57. Prohibition on Late Fees during Servicing Transfers.
During a period covering at least the 60-day period beginning on the
effective date of transfer of the servicing of a loan, a payment timely made
to the Transferor Servicer may not be treated as late for any purpose by
Navient when acting as the Transferee Servicer.

58. Transferor Forwarding of Payment Received. To the
extent practicable, for at least 120 days beginning on the effective date of
transfer of servicing of a loan, when Navient is acting as the Transferor
Servicer, use reasonable efforts to forward payments received to the
Transferee Servicer.

59. Electronic Fund Transfer Authority. Unless a borrower’s
authorizations for recurring electronic fund transfers are automatically
transferred to the Transferee Servicer, when Navient is acting as Transferee
Servicer, make available to a borrower or cosigner whose loan servicing is
transferred an online, telephone, and written process through which
borrowers may make a new authorization for recurring electronic fund
transfers.

60. Certain Transfers Excluded. The following transfers are not
assignments, sales, or transfers of loan servicing for purposes of Paragraphs
55-61 of this Order if there is:

a. | Nochange in the payee, address to which payment must

be delivered, account number, or amount of payment due;

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b. A transfer between affiliates;
A transfer that results from a merger or acquisition of
servicers or Sub-servicers;

d. A transfer that occurs between master servicers without
changing the Sub-servicer; or

e. Atransfer that occurs pursuant to U.S. Department of
Education direction or instruction.

61. Communication with Borrowers/Transferees on
Servicer Transfers Related to PSLF. Notwithstanding the foregoing
exclusions, when Navient is acting as the Transferor Servicer, assign Public
Service Specialists to handle questions from formerly and currently
serviced borrowers, and from Transferee Servicers about billing and
payment histories, repayment plans, missing or incomplete loan
information, including any information relevant to PSLF and TEPSLF, and
shall ensure successful and timely transfer of loan data sufficient for the
Transferee Servicer to determine whether the borrower has made
qualifying payments for the PSLF or TEPSLF programs while serviced by
Navient. Navient shall also ensure that the Transferee Servicer receives any
information in Navient’s possession relevant to such determinations that

came from a prior servicer.
Requests for Assistance, Account Dispute Resolution, and
Appeals
IT IS FURTHER ORDERED that:

62. Requests for Assistance. Navient shall implement or

continue its practice to maintain reasonable policies and procedures for
providing readily accessible methods for borrowers or cosigners to submit a

request, inquiry, or complaint by phone, email, or U.S. mail; and

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processing, investigating, responding to, and resolving all inquiries,
complaints, account disputes, and requests for documentation (“Request
for Assistance”) from borrowers or cosigners in a timely and effective
manner.

63. Appealing Requests for Assistance Outcomes. Navient
shall provide on Navient’s website(s) a description of how to appeal

decisions made by the OCA and a description of the appeal process.

Post-Default Collections

IT IS FURTHER ORDERED that:

64. Communications Regarding Post-Default Resolution
Options. When discussing the terms and conditions of federal education
loan rehabilitation, Navient must accurately and Clearly and Conspicuously
describe the characteristics, requirements, and consequences of each post-
default resolution option available to borrowers, including the impact on a
borrower’s credit, the application of collection fees, and the requirements

for disability discharge.

Pioneer

65. Inthe event that Pioneer engages in or resumes federal
education loan debt collection activities, Pioneer and its officers, agents,
servants, employees, and attorneys, and all other persons in active concert
or participation with it who receive actual notice of this Order, whether
acting directly or indirectly, may not violate sections 1031 or 1036(a) of the
CFPA, 12 U.S.C. §§ 5531, 5536(a), and section 807 of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692e, and when discussing the terms
and conditions of federal education loan rehabilitation, Pioneer must

accurately and Clearly and Conspicuously describe the characteristics,

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requirements, and consequences of each post-default resolution option
available to borrowers, including the impact on a borrower’s credit, the

application of collection fees, and the requirements for disability discharge.

II.
Compliance Plan

IT IS FURTHER ORDERED that:

66. Within 60 days of the Effective Date, Navient must create and
implement a comprehensive compliance plan designed to ensure that
Navient’s student loan servicing activities comply with all applicable laws
that the Bureau enforces, including Federal consumer financial laws, and
the terms of this Order (Compliance Plan). The Compliance Plan must
include, at a minimum:

a. Detailed steps for addressing each action required by this
Order;
b. |Amechanism to ensure that the Board is kept apprised of
the status of compliance actions; and
c. Specific timeframes and deadlines for implementation of
the steps described above.
Navient will provide the Compliance Plan to the Bureau upon request.

67. Inthe event that Pioneer engages in or resumes federal
education loan debt collection activities, Pioneer must create and
implement a comprehensive compliance plan designed to ensure that
Pioneer’s debt collection activities comply with all applicable laws that the
Bureau enforces, including Federal consumer financial laws, and the terms
of this Order (Compliance Plan). The Compliance Plan must include, at.a

minimum:

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a. Detailed steps for addressing each action required by this
Order;

b. |Amechanism to ensure that the Board is kept apprised of
the status of compliance actions; and

c. Specific timeframes and deadlines for implementation of
the steps described above.

Pioneer will provide the Compliance Plan to the Bureau upon request.

III.
Role of the Board and Executives

IT IS FURTHER ORDERED that:

68. The Board has the ultimate responsibility for ensuring that the
Defendants comply with this Order.

69. Defendants’ Chief Executive Officers and the Board must review
all plans and reports required by this Order, and any submissions to the
Bureau prior to such submission.

70. One year after the Effective Date, Defendants must submit to
the Supervision Director an accurate written compliance progress report
(Compliance Report) that has been approved by the Board, the accuracy of
which is sworn to under penalty of perjury, and which, at a minimum:

a. Describes the steps that the Board and Defendants’ Chief
Executive Officers have taken to reasonably assess
whether Defendants are complying with the Compliance
Plan and each applicable paragraph and subparagraph of
the Order;

b. Describes in detail whether and how Defendants have
complied with the Compliance Plan and each applicable

paragraph and subparagraph of the Order, including the
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manner of verification of such compliance and any
corrective actions taken to remedy potential non-
compliance with the applicable requirement, paragraph,
or subparagraph; and

c. Attaches a copy of each Order Acknowledgment obtained
under Section VIII, unless previously submitted to the
Bureau.

71. The Board and Defendants’ Chief Executive Officers must:

a. Authorize whatever actions are necessary for Defendants
to assess whether Defendants are complying with the
Compliance Plan and each applicable paragraph and
subparagraph of the Order;

b. Authorize whatever actions, including corrective actions,
are necessary for Defendants to fully comply with the
Compliance Plan and each applicable paragraph and
subparagraph of the Order; and

c. Require timely reporting by management to the Board
and Defendants’ Chief Executive Officers on the status of

compliance obligations.

MONETARY PROVISIONS

IV.
Order to Pay Redress

IT IS FURTHER ORDERED that:
72. Ajudgment for monetary relief and redress is entered in favor
of the Bureau and against the Defendants, jointly and severally, in the

amount of $100 million.

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73. Within 10 days of the Effective Date, Defendants must pay to
the Bureau, by wire transfer to the Bureau or to the Bureau’s agent, and
according to the Bureau’s wiring instructions, $100 million in full
satisfaction of the judgment as ordered in Paragraph 72 of this Section.

74. Any funds received by the Bureau in satisfaction of this
judgment will be deposited into a fund or funds administered by the Bureau
or the Bureau’s agent according to applicable statutes and regulations to be
used for redress for injured consumers as identified by the Bureau,
including, but not limited to, refund of moneys, restitution, damages or
other monetary relief, and for any attendant expenses for the
administration of any such redress.

75. Ifthe Bureau determines, in its sole discretion, that redress to
consumers is wholly or partially impracticable or otherwise inappropriate,
or if funds remain after redress is completed, the Bureau will deposit any
remaining funds in the U.S. Treasury. Defendants will have no right to
challenge any actions that the Bureau or its representatives may take under
this Section.

76. Payment of redress to any consumer under this Order may not

be conditioned on that consumer waiving any right.

V.
Order to Pay Civil Money Penalty

IT IS FURTHER ORDERED that:
77. Under section 1055(c) of the CFPA, 12 U.S.C. § 5565(c), by
reason of the violations of law alleged in the Complaint, Defendants must

pay a civil money penalty of $20 million to the Bureau.

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78. Within 10 days of the Effective Date, Defendants must pay the
civil money penalty by wire transfer to the Bureau or to the Bureau’s agent
in compliance with the Bureau’s wiring instructions.

79. The civil money penalty paid under this Order wil] be deposited
in the Civil Penalty Fund of the Bureau as required by section 1017(d) of the
CFPA, 12 U.S.C. § 5497(d).

80. Defendants must treat the civil money penalty paid under this
Order as a penalty paid to the government for all purposes. Regardless of
how the Bureau ultimately uses those funds, Defendants may not:

a. Claim, assert, or apply for a tax deduction, tax credit, or
any other tax benefit for any civil money penalty paid
under this Order; or

b. Seek or accept, directly or indirectly, reimbursement or
indemnification from any source, including but not
limited to payment made under any insurance policy, with
regard to any civil money penalty paid under this Order.

81. To preserve the deterrent effect of the civil money penalty in
any Related Consumer Action, Defendants may not argue that any
Defendant is entitled to, nor may any Defendant benefit by, any offset or
reduction of any compensatory monetary remedies imposed in the Related
Consumer Action because of the civil money penalty paid in this action or
because of any payment that the Bureau makes from the Civil Penalty Fund.
If the court in any Related Consumer Action offsets or otherwise reduces
the amount of compensatory monetary remedies imposed against any
Defendant based on the civil money penalty paid in this action or based on
any payment that the Bureau makes from the Civil Penalty Fund,

Defendants must, within 30 days after entry of a final order granting such

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offset or reduction, notify the Bureau, and pay the amount of the offset or
reduction to the U.S. Treasury. Such a payment will not be considered an
additional civil money penalty and will not change the amount of the civil

money penalty imposed in this action.

VI.
Additional Monetary Provisions

IT IS FURTHER ORDERED that:

82. Inthe event of any default on Defendants’ obligations to make
payment under this Order, interest, computed under 28 U.S.C. § 1961, as
amended, will accrue on any outstanding amounts not paid from the date of
entry of judgment to the date of payment, and will immediately become due
and payable.

83. Defendants relinquish all dominion, control, and title to the
funds paid under this Order to the fullest extent permitted by law and no
part of the funds may be returned to Defendants.

84. The facts alleged in the Complaint will be taken as true and be
given collateral estoppel effect, without further proof, in any subsequent
action by the Bureau to enforce the Order or its rights to any payment or
monetary judgment under the Order.

85. Defendants acknowledge that their Taxpayer Identification
Numbers (Social Security Number or Employer Identification Number),
which Defendants previously submitted to the Bureau, may be used for
collecting and reporting on any delinquent amount arising out of this
Order, in accordance with 31 U.S.C. § 7701.

86. Within 30 days of the entry of a final judgment, order, or
settlement in a Related Consumer Action, Defendants must notify the

Supervision Director of the final judgment, order, or settlement in writing.

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That notification must indicate the amount of redress, if any, that
Defendants paid or are required to pay to consumers and describe the
consumers or classes of consumers to whom that redress has been or will be

paid.

COMPLIANCE PROVISIONS

VII.
Reporting Requirements

IT IS FURTHER ORDERED that:

87. Defendants must notify the Bureau of any development that
may affect compliance obligations arising under this Order, including but
not limited to, a dissolution, assignment, sale, merger, or other action that
would result in the emergence of a successor company; the creation or
dissolution of a subsidiary, parent, or affiliate that engages in any acts or
practices subject to this Order; the filing of any bankruptcy or insolvency
proceeding by or against Defendants; or a change in any Defendant’s name
or address. Defendants must provide this notice at least 30 days before the
development or as soon as practicable after the learning about the
development, but in any case, no longer than 14 days after the
development.

88. Within 7 days of the Effective Date, each Defendant must:

a. Designate at least one telephone number and email,
physical, and postal address as points of contact that the
Bureau may use to communicate with the Defendant;

b. Designate at least one telephone number and email,

physical, and postal address as points of contact for

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consumers with inquiries related to consumer relief under
the Order;

c. Identify all businesses for which the Defendant is the
majority owner, or that the Defendant directly or
indirectly controls, by all of their names, telephone
numbers, and physical, postal, email, and Internet
addresses;

d. Describe the activities of each such business, including
the products and services offered, and the means of
advertising, marketing, and sales.

89. Defendants must report any change in the information required
to be submitted under Paragraph 88 at least 30 days before the change or

as soon as practicable after learning about the change, whichever is sooner.

VIII.
Order Distribution and Acknowledgment

IT IS FURTHER ORDERED that:

90. Within 7 days of the Effective Date, each Defendant must
submit to the Bureau an acknowledgment of receipt of this Order, sworn
under penalty of perjury.

91. Within 30 days of the Effective Date, Defendants must deliver a
copy of this Order to each of its and its Sub-servicer’s board members and
executive officers, as well as to any of its and its Sub-servicer’s managers
who have responsibilities related to the subject matter of the Order.

92. For 5years from the Effective Date, Defendants must deliver a
copy of this Order to any business entity resulting from any change in
structure referred to in Section VII, any future board members and

executive officers of Defendant or any Sub-servicer, as well as to any of its

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and its Sub-servicer’s managers who have responsibilities related to the
subject matter of the Order.

93. Defendants must secure a signed and dated statement
acknowledging receipt of a copy of this Order, within 30 days of delivery,
from all persons receiving a copy of this Order under this Section.

94. Ninety days from the Effective Date, Defendants must provide
the Bureau with a list of all persons and their titles to whom this Order was
delivered through that date under Paragraphs 91 and 92 and a copy of all
signed and dated statements acknowledging of receipt of this Order under

Paragraph 93.

IX.
Recordkeeping

IT IS FORTHER ORDERED that:
95. Defendants must retain, for at least 10 years from the Effective
Date, the following business records:

a. All documents and records necessary to demonstrate full
compliance with the Compliance Plan and each provision
of this Order, including all submissions to the Bureau.

b. Copies of all policies, procedures, guidance documents, or
training materials provided to employees, agents, or
subcontractors of Navient relating to the handling of, or
communications with, borrowers who indicate that they
are having difficulty paying their student loans, would like
to reduce payments on their student loans (including
paying zero), or would like to enroll in Forbearance or an

Alternative Repayment Plan, including all scripts,

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flowcharts, job aids, and decision trees relating to such
interactions or communications;

c. Copies of all policies and procedures relating to
compensation and incentives provided to call agents,
Alternative Repayment Specialists, Public Service
Specialists, and their respective supervisors;

d. Copies of all policies and procedures relating to written
communications with borrowers about recertifying
income and family size for Income-Driven Repayment
Plan, including templates of all such written
communications;

e. Copies of all policies and procedures relating to cosigner
release, including any disclosures relating to cosigner
release;

f. Copies of all policies and procedures relating to
furnishing information about student loan borrowers to
Consumer Reporting Agencies;

g. All consumer complaints and refund requests (whether
received directly or indirectly, such as through a third
party), and any responses to those complaints or requests;
and

h. All information in Defendants’ possession as of the
Effective Date relating to the identity and last-known
location of any consumer who received a Discretionary
Forbearance on at least one loan that was eligible for an
Income-Driven Repayment Plan from July 21, 2011 to

January 18, 2017 or who received a Total and Permanent

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Disability (“TPD”) discharge and for whom Special
Comment Code “AL” was reported from January 1, 2012,
to December 31, 2014.

96. All documents and records must be maintained in their original
electronic format. Data should be maintained in such a way that access,
retrieval, auditing, and production are not hindered.

97. Defendants must make these materials available to the Bureau

upon the Bureau’s request.

X.
Notices

IT IS FURTHER ORDERED that:

98. Unless otherwise directed in writing by the Bureau, Defendants
must provide all submissions, requests, communications, or other
documents relating to this Order in writing, with the subject line, “CFPB v.
Navient Corporation et al., Case No. 3:17-CV-00101-RDM,” and send them

by email to Enforcement_Compliance@cfpb.gov:

ATIN: Supervision Director
Consumer Financial Protection Bureau
Office of Supervision

XI.
Cooperation with the Bureau

IT IS FURTHER ORDERED that:

99. Defendants must cooperate fully to help the Bureau determine
the identity and last-known location of each consumer who received a
Discretionary Forbearance on at least one loan that was eligible for an
Income-Driven Repayment Plan from July 21, 2011 to January 18, 2017 or

who received a TPD discharge and for whom Special Comment Code “AL”

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was reported from January 1, 2012, to December 31, 2014, to the extent
such information is in Defendants’ possession or control. Defendants must
provide such information in its possession or control within 14 days of
receiving a written request from the Bureau.

100. Upon request by the Bureau for the last-known contact
information for any borrower with a commercial FFELP loan that is held or
serviced by any Defendant or Sub-servicer, Defendants must either (a)
provide such information, as reflected in Defendants’ records, to the
Bureau within 10 business days of the Bureau’s request or (b) request such
information from the Sub-servicer within 10 business days of the Bureau’s
request and provide such information to the Bureau within 5 business days
of Defendants’ receipt of such information from the Sub-servicer.

101. Defendants must remain registered for the Bureau’s Company
Portal and in connection with responding to consumer complaints and
inquiries on the Company Portal, must comply with the timely response
requirements set forth in § 1034(b)(1)-(3) of the CFPA, 12 U.S.C. § 5534(b).

XII.
Compliance Monitoring

IT IS FORTHER ORDERED that:

102. Within 14 days of receipt of a written request from the Bureau,
Defendants must submit additional compliance reports or other requested
information, which must be sworn under penalty of perjury; provide sworn
testimony; or produce documents.

103. Defendants must permit Bureau representatives to interview
any employee or other person affiliated with Defendants who has agreed to

such an interview regarding: (a) this matter; (b) anything related to or

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associated with the conduct described in the Complaint; or (c) compliance
with this Order. The person interviewed may have counsel present.
104. Nothing in this Order will limit the Bureau’s lawful use of

compulsory process, under 12 C.F.R. § 1080.6.

XII.
Transfer or Assignment of Operations

105. Should any Defendant seek to sell, transfer, assign, or
subcontract all or part of its operations that are the subject of this Order or
any of its servicing rights or obligations that are the subject of this Order to
any entity, including any Sub-servicer, Defendants must, as a condition of
the sale, transfer, assignment, or subcontract, include in the written
agreement provisions that require the buyer, transferee, assignee or
subcontractor to (1) comply with the applicable provisions of this Order;
and (2) if the buyer, transferee, assignee, or subcontractor further sells,
transfers, assigns, or subcontracts all or part of its operations that are
subject of this Order or any of its servicing rights or obligations that are the
subject of this Order, include in the written agreement provisions that
require such further buyer, transferee, assignee, or subcontractor to comply
with the applicable provisions of this Order.

106. The Bureau releases and discharges Defendants from all
potential liability for law violations that the Bureau has or might have
asserted based on the allegations of the Complaint, to the extent such
practices occurred before the Effective Date and the Bureau knows about
them as of the Effective Date. The Bureau may use the practices described
in the Complaint in future enforcement actions against Defendants and
their affiliates, including, without limitation, to establish a pattern or

practice of violations or the continuation of a pattern or practice of

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violations or to calculate the amount of any penalty. This release does not
preclude or affect any right of the Bureau to determine and ensure

compliance with this Order, or to seek penalties for any violations of this
Order.

XIV.
Retention of Jurisdiction

IT IS FURTHER ORDERED that:
107. All pending motions are hereby denied as moot.
108. The Court will retain jurisdiction of this matter for the purpose

of enforcing this Order.

IT IS SO ORDERED.
DATED this /o day of _, : i fetus . 20
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United States District Court Judge

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